    Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 1 of 6 PageID #: 218



                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

      DECAPOLIS SYSTEMS, LLC,                         §
                                                      §
                       Plaintiff,                     §
                                                      §    Case No. 2:22-cv-00146-JRG-RSP
              v.
                                                      §
                                                      §
       MEDSYS GROUP, LLC, TENET                       §
       HEALTHCARE CORPORATION, and                    §
       UHS OF DELAWARE, INC.,                         §
                                                      §
                       Defendants.                    §

                                AMENDED DOCKET CONTROL ORDER
       Before the Court is the Unopposed Motion for Extension of Time to Serve Initial and Additional

Disclosures. Dkt. No. 39. After due consideration, the Court GRANTS the motion and it is hereby

ORDERED that the following schedule of deadlines is in effect until further order of this Court:

 Amended Current           Event

            December *Jury Selection - 9:00 a.m. in Marshall, Texas
            4, 2023
            November * If a juror questionnaire is to be used, an editable (in Microsoft Word format)
            6, 2023  questionnaire shall be jointly submitted to the Deputy Clerk in Charge by this
                     date.1

            November *Pretrial Conference - 9:00 a.m. in Marshall, Texas before Judge Roy Payne
            2, 2023

            October        *Notify Court of Agreements Reached During Meet and Confer
            23, 2023
                           The parties are ordered to meet and confer on any outstanding objections or
                           motions in limine. The parties shall advise the Court of any agreements reached
                           no later than 1:00 p.m. three (3) business days before the pretrial conference.


            October        *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint Proposed
            23, 2023       Verdict Form, Responses to Motions in Limine, Updated Exhibit Lists,
                           Updated Witness Lists, and Updated Deposition Designations


     1 The Parties are referred to the Court's Standing Order Regarding Use of Juror
     Questionnaires in Advance of Voir Dire.
                                                      1
Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 2 of 6 PageID #: 219




        October     *File Notice of Request for Daily Transcript or Real Time Reporting.
        16, 2023
                    If a daily transcript or real time reporting of court proceedings is requested for
                    trial, the party or parties making said request shall file a notice with the Court
                    and e-mail the Court Reporter, Shawn McRoberts, at shawn-
                    _mcroberts@txed.uscourts.gov.
        October     File Motions in Limine
        10, 2023
                    The parties shall limit their motions in limine to issues that if improperly
                    introduced at trial would be so prejudicial that the Court could not alleviate the
                    prejudice by giving appropriate instructions to the jury.


        October     Serve Objections to Rebuttal Pretrial Disclosures
        10, 2023
        October 2, Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
        2023       Disclosures

       September Serve Pretrial Disclosures (Witness List, Deposition Designations, and
       18, 2023  Exhibit List) by the Party with the Burden of Proof

       September *Response to Dispositive Motions (including Daubert Motions). Responses to
       11, 2023  dispositive motions that were filed prior to the dispositive motion deadline,
                 including Daubert Motions, shall be due in accordance with Local Rule CV-
                 7(e), not to exceed the deadline as set forth in this Docket Control Order.2
                 Motions for Summary Judgment shall comply with Local Rule CV-56.


       August 28, *File Motions to Strike Expert Testimony (including Daubert
       2023       Motions)

                    No motion to strike expert testimony (including a Daubert motion) may be
                    filed after this date without leave of the Court.




 2
  The parties are directed to Local Rule CV-7(d), which provides in part that"[a] party's failure
 to oppose a motion in the manner prescribed herein creates a presumption that the party does
 not controvert the facts set out by movant and has no evidence to offer in opposition to the
 motion." If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to
 Dispositive Motions, the deadline for Response to Dispositive Motions controls.

                                                 2
Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 3 of 6 PageID #: 220




       August 28,      *File Dispositive Motions
       2023
                       No dispositive motion may be filed after this date without leave
                       of the Court.

                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend 12age limits will only be granted in
                       exceptional circumstances. Exceptional circumstances require more
                       than agreement among the parties.



       August 21,      Deadline to Complete Expert Discovery
       2023
       August 7, 2023 Serve Disclosures for Rebuttal Expert Witnesses

       July 17, 2023   Deadline to Complete Fact Discovery and File Motions to
                       Compel Discovery

       July 17, 2023   Serve Disclosures for Expert Witnesses by the Party with the
                       Burden of Proof

       July 18, 2023   Comply with P.R. 3-7 (Opinion of Counsel Defenses)

       June 27, 2023   *Claim Construction Hearing- 9:00 a.m. in Marshall, Texas
                       before Judge Roy Payne

       June 13, 2023   *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

       June 6, 2023    *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

       May 30, 2023    Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

       May 16, 2023    Comply with P.R. 4-5(a) (Opening Claim Construction Brief)
                       and Submit Technical Tutorials (if any)

                       Good cause must be shown to submit technical tutorials after
                       the deadline to comply with P.R. 4-5(a).

       May 16, 2023    Deadline to Substantially Complete Document Production and
                       Exchange Privilege Logs

                       Counsel are expected to make good faith efforts to produce all
                       required documents as soon as they are available and not wait until
                       the substantial completion deadline.




                                              3
  Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 4 of 6 PageID #: 221




           May 2, 2023      Comply with P.R. 4-4 (Deadline to Complete Claim
                            Construction Discovery)

           April 25, 2023   File Response to Amended Pleadings

           April 11, 2023   *File Amended Pleadings

                            It is not necessary to seek leave of Court to amend pleadings prior
                            to this deadline unless the amendment seeks to assert additional
                            patents.
           April 4, 2023    Comply with P.R. 4-3 (Joint Claim Construction Statement)

           March 14,        Comply with P.R. 4-2 (Exchange Preliminary Claim
           2023             Constructions)
           February 21,     Comply with P.R. 4-1 (Exchange Proposed Claim Terms)
           2023
           August 30,       Comply with Standing Order Regarding Subject-Matter
           2022             Eligibility Contentions3

           August 30,       Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
           2022
           August 30,       Comply with Paragraphs 1 & 3 of the Discovery Order (Initial and
           2022             Additional Disclosures)
                            (MedSys Group, LLC only)

August     August 16,       Comply with Paragraphs 1 & 3 of the Discovery Order (Initial and
24, 2022   2022             Additional Disclosures)

                            (Tenet Healthcare Corporation and UHS of Delaware, Inc. only)

           August 16,       Comply with Paragraphs 1 & 3 of the Discovery Order (Initial and
           2022             Additional Disclosures)
                            (All parties but for MedSys Group, LLC, Tenet Healthcare
                            Corporation, and UHS of Delaware, Inc.)




   3
       http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%200rder%20
   Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf              [https://perma.cc/RQN2-
   YU5P]
                                                   4
Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 5 of 6 PageID #: 222




        August 16,       *File Proposed Protective Order
        2022
                         The Proposed Protective Order shall be filed as a separate motion
                         with the caption indicating whether or not the proposed order is
                         opposed in any part.


  (*) indicates a deadline that cannot be changed without showing good cause. Good
  cause is not shown merely by indicating that the parties agree that the deadline should
  be changed.


                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be
 appropriate for every case. The Court finds that the Parties are best suited to evaluate whether
 mediation will benefit the case after the issuance of the Court's claim construction order.
 Accordingly, the Court ORDERS the Parties to file a Joint Notice indicating whether the case
 should be referred for mediation within fourteen days of the issuance of the Court's claim
 construction order. As a part of such Joint Notice, the Parties should indicate whether they
 have a mutually agreeable mediator for the Court to consider. If the Parties disagree about
 whether mediation is appropriate, the Parties should set forth a brief statement of their
 competing positions in the Joint Notice.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies
  of the completed briefing (opening motion, response, reply, and if applicable, sur-reply),
  excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be
  single-sided and must include the CM/ECF header. These copies shall be delivered to the
  Court within three (3) business days after briefing has completed. For expert-related motions,
  complete digital copies of the relevant expert report(s) and accompanying exhibits shall be
  submitted on a single flash drive to the Court. Complete digital copies of the expert report(s)
  shall be delivered to the Court no later than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
  to include any arguments related to the issue of indefiniteness in their Markman briefing,
  subject to the local rules' normal page limits.

          Lead Counsel: The Parties are directed to Local Rule CV-11(a)(l), which provides
  that "[o]n the first appearance through counsel, each party shall designate a lead attorney on
  the pleadings or otherwise." Additionally, once designated, a party's lead attorney may only
  be changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
  Court an Order granting leave to designate different lead counsel.


                                                 5
Case 2:22-cv-00146-JRG-RSP Document 44 Filed 08/18/22 Page 6 of 6 PageID #: 223




            Motions for Continuance: The following excuses will not warrant a continuance
     nor justify a failure to comply with the discovery deadline:

     (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

     (b)    The fact that one or more of the attorneys is set for trial in another court on the same
            day, unless the other setting was made prior to the date of this order or was made as a
            special provision for the parties in the other case;

     (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that
            it was impossible to complete discovery despite their good faith effort to do so.

            Amendments to the Docket Control Order ("DCO"): Any motion to alter any date
     on the DCO shall take the form of a motion to amend the DCO. The motion to amend the
     DCO shall include a proposed order that lists all of the remaining dates in one column (as
     above) and the proposed changes to each date in an additional adjacent column (if there is no
     change for a date the proposed date column should remain blank or indicate that it is
     unchanged). In other words, the DCO in the proposed order should be complete such that one
     can clearly see all the remaining deadlines and the changes, if any, to those deadlines, rather
     than needing to also refer to an earlier version of the DCO.

 .       Proposed DCO: The Parties' Proposed DCO should also follow the format
  described above under "Amendments to the Docket Control Order ('DCO')."

         Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
  Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial.
  The Plaintiff shall also specify the nature of each theory of infringement, including under
  which subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff
  alleges divided infringement or infringement under the doctrine of equivalents. Each
  Defendant shall indicate the nature of each theory of invalidity, including invalidity for
  anticipation, obviousness, subject-matter eligibility, written description, enablement, or
  any other basis for invalidity. The Defendant shall also specify each prior art reference or
  combination of references upon which the Defendant shall rely at trial, with respect to
  each theory of invalidity. The contentions of the Parties may not be amended,
  supplemented, or dropped without leave of the Court based upon a showing of good cause.
         SIGNED this 3rd day of January, 2012.
           SIGNED this 18th day of August, 2022.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE

                                                    6
